
466 F.Supp.2d 1354 (2006)
In re TERMINIX EMPLOYMENT PRACTICES LITIGATION
Christopher Roy
v.
Terminix International, Inc., et al., C.D. California, C.A. No. 2:06-5761
Shiloh Hood
v.
Terminix International Co., LP, N.D. California, C.A. No. 4:06-24
No. MDL 1809.
Judicial Panel on Multidistrict Litigation.
December 19, 2006.
Before WM. TERRELL HODGES, Chairman, D. LOWELL JENSEN, J. FREDERICK MOTZ, ROBERT L. MILLER, Jr., KATHRYN H. VRATIL, DAVID R. HANSEN and ANTHONY J. SCIRICA, Judges of the Panel.

TRANSFER ORDER
WM. TERRELL HODGES, Chairman.
This litigation currently consists of two actions pending, respectively, in the Central District of California and the Northern District of California. Before the Panel is a motion, pursuant to 28 U.S.C. § 1407, brought by defendant Terminix International Co., L.P., for coordinated or consolidated pretrial proceedings of these actions in a single district. Plaintiffs did not respond to the motion.
On the basis of the papers filed and hearing session held (without oral argument), *1355 the Panel finds that these two actions involve common questions of fact, and that centralization under Section 1407 in the Northern District of California will serve the convenience of the parties and witnesses and promote the just and efficient conduct of this litigation. The two actions before the Panel share allegations that the moving defendant violated state labor laws, concerning overtime compensation in particular, with respect to overlapping, if not identical, classes of pest control technicians and that those technicians were wrongly treated as exempt employees under the provisions of California law. Plaintiffs in both actions seek similar relief, including injunctive relief and damages. Centralization under Section 1407 is necessary in order to eliminate duplicative discovery; prevent inconsistent pretrial rulings, particularly with respect to class certification; and conserve the resources of the parties, their counsel and the judiciary.
The Northern District of California stands out as an appropriate transferee forum for this litigation. An action has been pending in the Northern District of California for over one year, while the action in the Central District of California has been pending for only a few months and is not far progressed. Moreover, mediation is underway in the Northern District of California with the proposed participation of all parties.
IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, the action pending outside the Northern District of California is transferred to the Northern District of California and, with the consent of that court, assigned to the Honorable Saundra Brown Armstrong for coordinated or consolidated pretrial proceedings with the action pending in that district.
